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UNITED STATES DISTRICT COURT

for the
District of New Mexico

United States of America

; i _ 19-CR-03113 JB
Robert Padilla Case No

Defendant

WAIVER OF PERSONAL PRESENCE AT HEARING

 

 

L Robert Padilla ___, Defendant, understand that | am scheduled for
, motions hearing on March 30, 2021
date

nature of hearing

| understand that { may appear by video for this proceeding. | hereby ask to be permitted to

appear for the hearing by video, and waive my right to be personally present for this hearing.

  

ae, 3/29/2021

 

Defertdant's signature

— Cc a
Joe M. Romero, Jr.
Printed name of defendant's allorney ”

joe@romeroandwinder. com

Defendant's attorney's e-mail address

 
